To:        Roy Kohn[rkohn@southernwine.com]
           Case 2:19-cv-07271-GRB-LGD            Document     39-22 Filed 01/03/23 Page 1 of 1 PageID #: 509
Cc:        Elizabeth  Toohig[etoohig@southernwine.com]                                                   EXHIBIT 20
From:      Kevin Randall[krandall@SOUTHERNWINE.com]
Sent:      Thur 8/18/2016 5:47:39 AM (UTC)
Subject:   Fwd: sitting with daniel

Another example of Maria not working with our out of town guests. They are done working with her.

Sent from my iPhone

Begin forwarded message:


       From: John Wilkinson <jwilkinson@southernwine.com>
       Date: August 17, 2016 at 4:11:13 PM EDT
       To: Kevin Randall <krandall@SOUTHERNWINE.com>
       Subject: FW: sitting with daniel


       Wow. Im going to sit with her and explain how this needs to be done. Stinking fire alarm etc , another day of loss
       productivity
       
       From: Maria Suarez
       Sent: Wednesday, August 17, 2016 2:34 PM
       To: John Wilkinson <jwilkinson@southernwine.com>
       Subject: sitting with daniel
       
       I just want you to know that he didnt teach me anything, had nothing to show to me, just wanted to tell me than I
       am supposed to be on a cherry picker counting behind the cycle counters, also that I am wasting man hours putting
       Justin to recount behind the others. I take orders from my boss, you tell me what to do.
       Maria
